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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                                    No. 1:21-cr- 43
                      Plaintiff,

       v.                                           HON. ROBERT J. JONKER
                                                    United States District Judge
JEREMY TYLER SWINK,

                      Defendant.
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                                     PLEA AGREEMENT

       This constitutes the plea agreement between Jeremy Tyler Swink and the United States

Attorney's Office for the Western District of Michigan. The terms of the agreement are as

follows:

               Plea to an Information.     The defendant agrees to plead guilty to an

Information. The Information charges the defendant with operating an unlicensed money

transmitting business in violation of Title 18, United States Code, Sections 2 and 1960. The

defendant waives his right to indictment by a grand jury.

       2.      The Defendant Understands the Crime.         In order for the defendant to be guilty

of violating Title 18, United States Code, Sections 2 and 1960, the following must be true:

               a.     First, the defendant knowingly operated, or aided and abetted the

operation of, a money transmitting business.

               b.     Second, the business affected interstate commerce.

               c.     Third, the defendant and business failed to comply with the money

transmitting business registration requirements of 31 U.S.C. § 5330 or regulations prescribed
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under such section, and the defendant knew the business was not registered with the federal

government.

The defendant is pleading guilty because the defendant is guilty of the charge described above.

       3.        The Defendant Understands the   Penalties.    The statutory maximum sentence

that the Court can impose for a violation of Title 18, United States Code, Sections 2 and 1960 is

the following:

                 a.     not more than five years in prison;

                 b.     not more than three years of supervised release;

                 c.     a $250,000 fine; and

                 d.     a $100 mandatory special assessment.


The defendant agrees to pay the special assessment at or before the time of sentencing unless the

defendant affirmatively demonstrates to the Court that he lacks the ability to pay.

        4.       Supervised Release   Defined.     Supervised release is a period of time following

imprisonment during which the defendant will be subject to various restrictions and

requirements. The defendant understands that if he violates one or more of the conditions of

any supervised release imposed, he may be returned to prison for all or part of the term   of

supervised release, which could result in the defendant serving a total term of imprisonment

greater than the statutory maximum stated above.

        5.       Factual Basis of Guilt.       The defendant and the U.S. Attorney's Offrce agree

and stipulate to the following statement of facts which need not be proven at the time of the plea

or sentencing, and which does not include all of the facts underlying the defendant's guilt:
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                    a.    The defendant volunteered at The Geek Group, a/k/a National Science

Institute, located in Grand Rapids, Michigan, from approximately 2014 to January 2019. He

reported to Christopher Allan Boden, a/Wa"Captain," and Leesa Beth Vogt,            akla"LizBokt,"
a./k/a   "Moose."

                    b.    The defendant's responsibilities at The Geek Group included staffing the

front desk, providing technology training to members, and other assorted tasks. Beginning in

2017, and continuing until approximately December 2018, the defendant sold bitcoin w.hen

working at the front desk. Boden taught him how to sell bitcoin and instructed him what to

charge for transactions. The defendant would call Boden to handle transactions over certain

amounts. When he began selling bitcoin at The Geek Group, the defendant would sell up to

$10,000 in bitcoin at atime, but later, at Boden's direction purportedly to comply with the law,

the defendant would not sell more than     $   1,000 per   transaction. Instead, when   a customer sought

more than $1,000, Boden would handle the transaction personally.           All of the proceeds from   the

transactions were comingled, irrespective of whether the defendant processed the transaction or

he referred the customer to Boden.

                   c.     The defendant deposited the proceeds from sales of bitcoin in a Chase

bank account with account number ending in         6810. Vogt, and     sometimes Boden, would give

him cash to deposit. Boden and Vogt told the defendant not to deposit more than approximately

$3,500 to $4,500 at a time, because otherwise the banks might freeze the account. The purpose

of the Chase account was to easily transfer the funds to Daniel Reynold DeJager, alWa"Daniel

Reynold," a/Wa"Daniel Miester," alWa "Danichi," who would purchase more bitcoin for the

group to   sell.   Boden, Vogt, and DeJager were listed on the Chase account, but not the
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defendant, so he could not go into the bank, and he could only use the ATM to make deposits.

The defendant deposited more than $100,000 into the Chase account      in20l7    and 2018.


                d.      The defendant heard Boden talk about mixing and tumbling, which are

methods used to make cryptocurrency transactions hard to    trace. Boden told the defendant that

they did not need any identifying information about any customers to whom they were selling

bitcoin.   Some customers were regulars, and some of the regulars smelled of     marijuana. Boden

told the defendant that he suspected those customers were using the money to buy marijuana.

                e.      The Geek Group, Boden, Vogt, DeJager, and the defendant were not

registered as a money services business with the United States government, specifically, the

United States Department of the Treasury Financial Crimes Enforcement Network ("FinCEN").

       6.       Cooperation in Criminal   Investigations.     The defendant agrees to   fully

cooperate with the Homeland Security Investigations, the Intemal Revenue Service, the U.S.

Attorney's Office, and any other law enforcement agency in their investigation of the charge

contained in the Information as well as the investigation of crimes over which they have actual or

apparent   jurisdiction. The defendant's cooperation will consist of all   steps needed to uncover


and prosecute such crimes, including, but not limited to, providing investigators with a     full,

complete, and truthful statement concerning the defendant's knowledge of any and all criminal

activity of which he is aware; truthfully answering investigators' questions; meeting with

prosecutors before testifying; truthfully testi$,ing before grand juries and in any court

proceedings; and providing all relevant tangible evidence in the defendant's possession or under

the defendant's control, including, but not limited to, objects, documents, and photographs. The

defendant's obligation to cooperate under this paragraph is an affirmative one and includes the
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obligation to voluntarily come forward with any and all information which the defendant should

reasonably know    will   assist in the investigation of other criminal   activity.   The defendant   will

not commit any criminal offense during the course of his cooperation with the United States.

The defendant   will   submit to polygraph examination(s) upon request. The defendant's

obligation under this paragraph is a continuing one, and shall continue after sentencing until all

investigations and prosecutions in which the defendant's cooperation is deemed relevant by the

U.S. Attomey's Office have been completed.

        7.      The United States Attornelz's Office Agrees.

                a.        Acceptance of   Responsibility.       The U.S. Attorney's Office agrees not

to oppose the defendant's request for a two-level reduction of his offense level for acceptance of

responsibility under Section 3E1.1(a) of the Guidelines. However, the U.S. Attorney's Office

reserves the right to obj ect to the defendant' s request   if it subsequently   learns of conduct by the

defendant that is inconsistent with the criteria set forth in the Commentary to Section 3E1.1.

Should the Court grant a two-level reduction as provided herein, the U.S. Attorney's Office            will

move the Court to grant an additional one-level reduction if the adjusted offense level is        l6 or

greater pursuant to Section 3E1. 1(b).

                b.        Section lB 1.8 Protection for Proffered/Cooperative         Statements. The

U.S. Attorney's Office agrees that information provided by the defendant through the

defendant's proffer(s), and any information provided pursuant to the defendant's promise to

cooperate as described in this agreement,     will not   be used by the government to enhance the

defendant's sentence, in accordance with Section 1B1.8 of the Guidelines, and according to the

terms of the written agreement entered into between the parties immediately prior to the
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proffer(s). It is expressly understood, however, that such information may    be used by the

government at sentencing if the defendant takes a position at sentencing that contradicts

information provided by the defendant pursuant to this agreement or any proffer agreement.

               c.     Possibility of Sentence Reduction Motions. The U.S. Attorney's Office

will decide whether to file a motion for departure or reduction of sentence pursuant to Section

5K1.1 of the Guidelines and/or Rule 35(b) of the Federal Rules of Criminal Procedure. The

defendant fully understands that such a rnotion may be made pursuant to law if, and only if, the

defendant fully cooperates with the government and materially and substantially assists the

government in the investigation or prosecution of    others. The determinations of whether the

defendant has provided substantial assistance to the United States, or to designated state or local

law enforcement authorities, and of which type of motion to file, will be made in the sole

discretion of the U.S. Attomey's   Office.   The defendant fully understands that this paragraph is

not a promise by the government to file a motion for departure or to reduce a sentence.

Additionally, the defendant understands that, even if such a motion were filed, the Court has

complete discretion to grant or deny the   motion.   Furthermore, if the Court were to grant the

motion, the Court-not the government-would decide how much of a departure or sentence

reduction the defendant receives based upon the nature and extent ofthe defendant's assistance.

The defendant acknowledges and agrees that he may not appeal the Court's exercise of its

discretion in granting or denying a motion for departure or reduction of sentence, if such a

motion is made.

        8.     The Sentencing   Guidelines.      The defendant understands that, although the

Guidelines are not mandatory, the Court must consult the Guidelines and take them into account
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when sentencing the defendant. The defendant understands that the Court, with the aid of the

presentence report,    will   determine the facts and calculations relevant to sentencing. The

defendant understands that the defendant and the defendant's attomey          will   have the opportunity

to review the presentence report and to make objections, suggestions, and recommendations

concerning the calculation of the Guidelines range and the sentence to be imposed. The

defendant further understands that the Court shall make the final determination of the Guidelines

range that applies in this case, and may impose a sentence within, above, or below the Guidelines

range, subject to the statutory maximum penalties described elsewhere in this agreement. The

defendant further understands that disagreement with the Guidelines range or sentence shall not

constitute a basis for withdrawal of the plea.

         9.       There is No Agreement About the Final Sentencing Guidelines Range. The

defendant and the U.S. Attorney's Office have no agreement as to the applicable Guidelines

factors or the appropriate Guidelines     range. Both parties    reserve the right to seek any sentence

within the statutory maximum, and to argue for any criminal history category and score, offense

level, specifi c offense characteristics, adjustments, and departures.

          10.     Waiver of Constitutional   Rights.       By pleading guilty, the defendant gives up

the right to persist in a plea of not guilty and the right to a speedy and public trial by jury or by

the   Court. As   a result of the defendant's   guilty plea, there will be no trial. At any trial, whether

by   jury or by the Court, the defendant would have had the following rights:

                  a.     The right to the assistance of counsel, including, if the defendant could not

afford an attorney, the right to have the Court appoint an attorney to represent the defendant.
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                 b.    The right to be presumed innocent and to have the burden of proof placed

on the government to prove the defendant guilty beyond a reasonable doubt.

                 c.    The right to confront and cross-examine witnesses against the defendant.

                 d.    The right, if the defendant wished, to testify on the defendant's own behalf

and present evidence in opposition to the charges, including the right to call witnesses and to

subpoena those witnesses to testify.

                 e.     The right not to be compelled to testify, and, if the defendant chose not to

testify or present evidence, to have that choice not be used against the defendant.

                 f.     By pleading guilty, the defendant also gives up any and all rights to pursue

in this Court or on appeal any affirmative defenses, Fourth Amendment, or Fifth Amendment

claims, and other pretrial motions that have been filed or could be filed.

        I   1.   Waiver of Other Riehts.

                 a.     ApPeal and Collateral Attack.

                          i.    Waiver. In exchange for      the promises made by the govemment in

                                entering this plea agreement, the defendant waives all rights to

                                appeal or collaterally attack the defendant's conviction, sentence,

                                or any other matter relating to this prosecution, except as listed

                                below.

                          ii.   Exceptions. The defendant may appeal or seek collateral relief to

                                raise a claim,   if otherwise permitted by law in such a proceeding,

                                on the following grounds:
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                                   A. the defendant's sentence on any count ofconviction

                                        exceeded the statutory maximum for that count;

                                   B. the defendant's sentence was based on an unconstitutional

                                        factor, such as race, religion, national origin, or gender;

                                   C. the district court incorrectly determined the Guidelines

                                        range,   ifthe defendant objected at sentencing on that    basis;

                                   D. the defendant's sentence is above the Guideiines range as

                                        determined by the court at sentencing and is unreasonable;

                                   E. the   guilty plea was involuntary or unknowing; or

                                   F.   an attorney who represented the defendant during the

                                        course of this criminal case provided ineffective assistance

                                        of counsel.

                        ll1.    Ifthe defendant   appeals or seeks collateral relief, the defendant

                                may not present any issue in the proceeding other than those

                               described in this subparagraph.

               b.      FOIA    Requests. The defendant hereby waives all rights, whether
asserted directly or by a representative, to request or receive from any department or agency       of

the United States any records pertaining to the investigation or prosecution of this case, including

without limitation any records that may be sought under the Freedom of Information Act,        5

U.S.C. $ 552, or the Privacy Act of 1974, 5 U.S.C. g 552a.

       12.     The Court is Not a Party to this    Agreement.       The defendant understands that

the Court is not a party to this agreement and is under no obligation to accept any
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recommendation by the U.S. Attomey's Office or the parties regarding the sentence to be

imposed. The defendant further understands that, even if the Court ignores such                 a


recommendation or imposes any sentence up to the maximum established by statute, the

defendant cannot, for that reason, withdraw his guilty plea, and he            will   remain bound to   fulfill all

his obligations under this agreement. The defendant understands that no                 one-not the

prosecutor, the defendant's attorney, or the        Court-can make a binding prediction or promise

regarding the sentence the defendant      will receive,   except tkrat it   will   be within the statutory


maximum.

        13.    This Aereement is Limited to the Panies. This agreement is limited to the

U.S. Attorney's Office for the Western District of Michigan, and cannot bind any other federal,

state, or local prosecuting, administrative, or regulatory       authority. This agreement applies only

to crimes committed by the defendant. This agreement does not apply to or preclude any past,

present, or future forfeiture or   civil actions.

        14.     Consequences       ofBreach.         Ifthe defendant   breaches any provision        ofthis

agreement, whether before or after sentencing, the United States shall have the right to terminate

this agreement, or deny any or all benefits to which the defendant would otherwise be entitled

under the terms of this agreement. In the event that the United States elects to terminate this

agreement, the agreement shall be considered null and void, and the parties shall retum to the

same position they were in   prior to the execution of this agreement, as though no agreement ever

existed. In such an event, the defendant shall remain liable for prosecution on all original

charges, and the United States shall be free to bring such additional charges as the law and facts

warrant. The defendant further       agrees to waive and forever give up his right to raise any claim



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that such a prosecution is time-barred if the prosecution is brought within one (1) year of the

breach that gives rise to the termination of this agresment.

         15.                                           This agrefinent has been entered into by

both sides freely, knowingly, and voluntarily, and it incorporates t}re complete understanding

between the   parties. No other promises have been made, nor may any additional agreements,

understandings, or conditions be entered into unless in a writing signed by all parties or on the

record in open court.

                                              ANDREW BYERLY BIRGE
                                              United States Afiorney




                                                       M. PRESA}IT
                                              Assistant United States Attomey

       I have read this agreement and carefully discussed every pafr of it with my attorney. I
understand the terms of this agreement, and I voluntarily agree to those terms. My attorney has
advised me of my rights, of possible defenses, of the sentencing provisions, and of the
consequences of entering into this agreement. No promises or inducements have been made to
me other than those contained in this agreement. No one has threatened or forced me in any
way to enter into this agreement. Finally, I am satisfied with the representation of my attomey
in this matter.

A
Date
       l'-O6:Lszl                             JEREMY TYLER S\4/INK
                                              Defendant

       I am Jeremy Tyler Swink's attomey. I have carefully discussed every part of this
agreement with my client. Further, I have fully advised my client of his rights, of possible
defenses, of the sentencing provisions, and of the consequences of enterioglnto this agreement.
To my knowledge, my client's decisiorr to enter into this agreement is an informed ani voluntary




W
one.



                                              HE       . NIETIWEI$HUIS
                                              Attomey for Defendant

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